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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
               v.                                  :        1:20-CR-55 (TFH)
                                                   :
JACOB JORDAN                                       :        Status Hearing: July 14, 2020


                    MOTION TO MODIFY CONDITIONS OF RELEASE
       The defendant, Jacob Jordan, through undersigned counsel respectfully requests that this

Honorable Court modify Mr. Jordan’s conditions of release to allow him to walk his service dog.

In support of this motion, undersigned counsel states the following:


   1. On February 25, 2020, Mr. Jordan was arrested and charged with one count of Possession

       With Intent to Distribute a Mixture and Substance Containing a Detectably Amount of

       Methamphetamines, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C) and one count of

       Using, Carrying and Possessing a Firearm During a Drug Trafficking Offense, in

       violation of 18 U.S.C. § 924(c). See ECF #1. On February 27, 2020, the grand jury

       returned a two-count indictment charging Mr. Jordan with count One, Possession With

       Intent to Distribute a Mixture and Substance Containing a Detectably Amount of

       Methamphetamines, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C); and Count Two,

       Using, Carrying and Possessing a Firearm During a Drug Trafficking Offense, in

       violation of 18 U.S.C. § 924(c). See ECF #8.

   2. Mr. Jordan was held pending trial from the time of his arrest until this Court released him

       to 24-hour home confinement and supervision through HISP on April 23, 2020.

   3. Since his release, Mr. Jordan has been in compliance with the conditions of HISP.
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   4. Mr. Jordan has a certified service dog that helps with his PTSD. Mr. Jordan has had his

       dog since it was a puppy and the two are especially bonded. Mr. Jordan needs to walk his

       dog on a daily basis. Mr. Jordan reached out to pretrial services about being allowed to

       leave his apartment to walk his dog to a park near his apartment. Upon information and

       belief the park is about two blocks from his apartment. Pretrial services will not grant the

       request without the Court’s permission.

   5. Undersigned counsel reached out to the government to obtain its position. Having spoken

       to pretrial services, the government ascertained that pretrial services had some concerns

       about granting the request that the Court will have to consider and rule on.

   6. Undersigned counsel reached out to pretrial services to gain an understanding of the

       issues. Pretrial services indicated that its concern is that walking his dog creates a daily

       reason for Mr. Jordan to be out of the apartment.


   WHEREFORE, for the above stated reasons and any others that appear to the Court at a

hearing on this matter, the defendant respectfully request that this motion be granted and that the

Court modify Mr. Jordan’s conditions of release to allow him to walk his dog within a specified

radius of his apartment.


                                              /s/ Jon w. Norris
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                v.                                 :        1:20-CR-55 (TFH)
                                                   :
JACOB JORDAN                                       :       Status Hearing: July 14, 2020



                                            ORDER


Upon consideration of the Motion to Modify Conditions of release and the entire record, it is on

this ___ day of ______________, 2020, hereby


        ORDERED that Mr. Jordan’s Motion is granted and that Mr. Jordan’s conditions of

release are modified such that he may walk his dog twice a day within an area specified by

pretrial services.




                                                 __________________________________
                                                 THE HONORABLE THOMAS F. HOGAN
                                                 UNITED STATES DISTRICT JUDGE
